               Case 1:20-cr-10114-IT Document 1 Filed 06/15/20 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                                           )   Criminal No. 20cr10114
      UNITED STATES OF AMERICA                             )
                                                           )   Violation:
                   v.                                      )
                                                           )   Count One: Tampering with a Consumer
      MARIETTA STRICKLAND,                                 )   Product
                                                           )   (18 U.S.C. § 1365(a)(4))
                           Defendant                       )
                                                           )
                                                           )
                                                           )

                                            INFORMATION

          At all times relevant to this Information:

                                           General Allegations

          1.      Defendant, MARIETTA STRICKLAND (“STRICKLAND”) was a resident of

Dighton, Massachusetts.

          2.      From on or about September 20, 2016, until on or about April 22, 2018,

Strickland was a Registered Nurse working at Dighton Care and Rehabilitation Center in

Dighton, Massachusetts (hereinafter “Dighton Rehab”). Dighton Rehab was a long-term care

facility with about 30 patients, many of whom received benefits through Medicare and Medicaid.

          3.      Oxycodone was a Schedule II controlled substance. Oxycodone Hydrochloride

(“Oxycodone HCL”) was a drug that contained oxycodone and was an opioid used for pain

relief.

          4.      The United States Food and Drug Administration (hereinafter “FDA”) was an

agency within the executive branch of the Government of the United States. The FDA was the

agency responsible for protecting the health and safety of the public by ensuring, among other

things, that drugs intended for use in humans were safe and effective for their intended uses and

                                                       1
            Case 1:20-cr-10114-IT Document 1 Filed 06/15/20 Page 2 of 3



that the labeling of such drugs was true and accurate. As part of its mission to protect the public

health, FDA—specifically its Office of Criminal Investigations—had the authority to investigate

allegations of tampering with consumer products, including drugs.

                     STRICKLAND’s Tampering with Victim 1’s Morphine

       5.      While working at Dighton Rehab, STRICKLAND treated a hospice patient,

hereinafter “Victim 1,” an 89-year-old woman who was diagnosed with Alzheimer’s disease and

breast cancer, among other ailments. Victim 1 was prescribed Oxycodone HCL for pain control,

and ordered to take one 5 mg Oxycodone HCL tablet twice a day.

       6.      Beginning at least on or about March 5, 2018, and continuing through on or about

April 22, 2018, STRICKLAND tampered with three blister card packages of Oxycodone HCL

prescribed to Victim 1 by removing the white Oxycodone HCL tablets and replacing them with

other white tablets disguised to look like Oxycodone HCL. STRICKLAND collected white

tablets that resembled the Oxycodone HCL tablets and scratched off the nomenclature

identifying the tablets. These tablets included lisinopril (blood pressure medication), memantine

(Alzheimer’s disease medication), glipizide (diabetes medication), and benztropine (anti-seizure

medication). Each of these disguised drugs were prescription drugs with potential drug

interactions and side effects. STRICKLAND made small slits in the plastic portion of the blister

card packaging holding Victim 1’s Oxycodone HCL tablets and extracted the Oxycontin tablets

and replaced them with the disguised tablets. Using this method, STRICKLAND stole at least

120 Oxycodone HCL tablets. As a result, Victim 1 was deprived of her prescribed Oxycodone

HCL and instead received and ingested at least 77 unnecessary prescription tablets that were

disguised to look like Oxycodone HCL.




                                                 2
              Case 1:20-cr-10114-IT Document 1 Filed 06/15/20 Page 3 of 3



                                          COUNT ONE
                                Tampering with a Consumer Product
                                    (18 U.S.C. § 1365(a)(4))

         7.     From on or about March 5, 2018, and continuing through on or about April 22,

2018, in the District of Massachusetts, the defendant,

                                      MARIETTA STRICKLAND,

with reckless disregard for the risk that another person would be placed in danger of death or bodily

injury, and under circumstances manifesting extreme indifference to such risk, did tamper with a

consumer product that affected interstate commerce, to wit, three blister card packages containing

the drug Oxycodone HCL prescribed to Victim 1, bearing the prescription and lot numbers listed

below:

 No.                    Description                      Prescription No.           Lot No.

  1      Oxycodone HCL; 60 tablets (5 mg)                 RxC2726620                S913944

  2      Oxycodone HCL; 30 tablets (5 mg)                 RxC2726746               EP170492

  3      Oxycodone HCL; 30 tablets (5 mg)                 RxC2726805               EP170665

and with the labeling and container for such products, by removing the Oxycodone HCL tablets

from the blister card packages and replacing the removed tablets with other prescription tablets

that STRICKLAND altered so they resembled Oxycodone HCL.

         All in violation of Title 18, United States Code, Section 1365(a)(4).

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney


                                               By:     /s/ Elysa Q. Wan
                                                      ELYSA Q. WAN
                                                      Assistant U.S. Attorney
Date: June 15, 2020

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